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                     8                       UNITED STATES DISTRICT COURT
                     9                      NORTHERN DISTRICT OF CALIFORNIA
                    10   IN RE: APPLE INC. DEVICE              Case No: 5:18-MD-02827-EJD
                         PERFORMANCE LITIGATION
                    11                                         CLASS ACTION
                    12                                         AMENDED [PROPOSED] ORDER
                                                               GRANTING CONSOLIDATION OF
                    13                                         RELATED ACTIONS; APPOINTMENT
                                                               OF INTERIM CO-LEAD COUNSEL,
                    14                                         PLAINTIFFS’ EXECUTIVE
                                                               COMMITTEE & STEERING
                    15                                         COMMITTEE
                    16                                         Judge: Hon. Edward J. Davila
                         This relates to:
                                                               Courtroom: 4, 5th Floor
                    17                                         Hearing Date: May 10, 2018
                         ALL ACTIONS                           Hearing Time: 10:00 a.m.
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 LAW OFFICES             AMENDED [PROPOSED] ORDER REGARDING CONSOLIDATION &
COTCHETT, PITRE &
 MCCARTHY, LLP
                         APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND PLAINTIFFS’
                         COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1          WHEREAS, the Court has received and considered motion(s) to consolidate the currently-
                     2   related cases against Defendant;
                     3          WHEREAS, the Court has received and considered motion(s) to appoint interim lead
                     4   counsel, an executive committee, and members of a steering committee submitted by various
                     5   counsel for the Plaintiffs;
                     6          WHEREAS, the Court recognizes the need to appoint an interim lead counsel structure to
                     7   coordinate litigation efficiently on behalf of all class members, and the importance of keeping
                     8   time, expense reports, reasonable fees, and eliminating duplication of efforts;
                     9          WHEREAS, having considered all timely submissions in light of the criteria set forth in the
                    10   Manual for Complex Litigation and Federal Rule of Civil Procedure 23(g), and having considered
                    11   oral argument during the hearing held on May 10, 2018, the Court orders as follows:
                    12   I.     CONSOLIDATION

                    13          The district court may consolidate actions involving common questions of law and fact.
                    14   Fed. R. Civ. P. § 42(a)(2). The court exercises “broad discretion to decide how cases on its docket
                    15   are to be tried so that the business of the court may be dispatched with expedition and economy
                    16   while providing justice to the parties.” Morin v. Turpin, 778 F. Supp. 711, 733 (S.D.N.Y. 1991)
                    17   (citing 6 C. Wright & A. Miller, Federal Practice and Procedure 1471, at 359 (1971). In exercising
                    18   this discretion, the court “weighs the saving of time and effort consolidation would produce against
                    19   any inconvenience, delay, or expense that it would cause.” Huene v. United States, 743 F.2d 703,
                    20   704 (9th Cir. 1984). Consolidation may occur upon motion by a party or sua sponte. In re Adams
                    21   Apple, Inc., 829 F.2d 1484, 1487 (9th Cir. 1987).
                    22          The Court finds that each case presents substantially similar factual and legal issues. Due
                    23   to the same or similar set of circumstances, discovery issues relating to each action will be parallel.
                    24   Furthermore, the actions are in the same procedural postures as Defendants have not yet filed an
                    25   answer or responsive motion. There is no basis to find that consolidation would cause
                    26   inconvenience, delay or expense, especially since the parties agree with the consolidation request.
                    27          Accordingly, the Court finds that consolidation appropriate and the motions to consolidate
                    28   are GRANTED.
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 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                              1
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1   II.    APPOINTMENT OF INTERIM CLASS COUNSEL
                     2          This Order is intended to create a leadership structure for plaintiffs’ counsel in order to
                     3   organize, simplify, and streamline the handling of these matters on behalf of all plaintiffs,
                     4   consistent with the fair administration of justice.
                     5          This Order sets forth procedures that will apply in the federal MDL proceeding, and applies
                     6   to all cases that today or in the future become part of the MDL proceeding and any consolidated
                     7   action that was previously a part of the coordinated MDL proceeding if the case is subsequently
                     8   pending before this Court, and it binds all parties and their counsel in all such cases, including all
                     9   attorneys appointed by this Court to leadership positions in the MDL proceeding.
                    10          A.      Co-Lead Counsel
                    11          The Court has considered the chief criteria that lead plaintiffs’ counsel should possess: (1)
                    12   knowledge and experience in prosecuting complex litigation, including class actions; (2)
                    13   willingness and ability to commit to a time-consuming process; (3) ability to work cooperatively
                    14   with others; and (4) access to sufficient resources to prosecute the litigation in a timely manner.
                    15   Fed. R. Civ. P. 23(g)(1)(A). The Court hereby appoints Cotchett, Pitre & McCarthy LLP and
                    16   Kaplan Fox & Kilsheimer LLP as Interim Co-Lead Counsel in this action. The Court finds that
                    17   these firms have extensive knowledge and experience in prosecuting complex litigation and class
                    18   actions, are both willing and able to commit to a time-consuming process of litigating this case,
                    19   have shown the ability to work cooperatively with others, garnering the support of a great number
                    20   of colleagues and fellow counsel in this MDL, and have access to sufficient resources to prosecute
                    21   this litigation in a timely manner.
                    22          B.      Plaintiffs’ Executive Committee
                    23          Having reviewed motions and supporting firm resumes, and finding that the proposed
                    24   committees will advance judicial interests of efficiency and protect the interests of the proposed
                    25   Class, the Court hereby appoints the following individuals to the Plaintiffs’ Executive Committee
                    26   (“PEC”) (a chart illustrating the PEC composition is also attached hereto):
                    27

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 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                                 2
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1   Mark J. Dearman                              Eli Greenstein
                         ROBBINS GELLER RUDMAN &                      KESSLER TOPAZ METZLER CHECK LLP
                     2                                                1 Sansome Street, Suite 1850
                         DOWD LLP
                     3   120 East Palmetto Park Road, Suite 500       San Francisco, CA. 94104
                         Boca Raton, FL 33432                         (415) 400-3000
                     4   (561) 750-3000                               egreenstein@ktmc.com
                         Mdearman@rgrdlaw.com
                     5
                         Derek Howard                                 Kyle McGee
                     6
                         DEREK G. HOWARD LAW FIRM                     GRANT & EISENHOFER P.A.
                     7   42 Miller Ave                                485 Lexington Avenue, 29th Floor
                         Mill Valley, CA. 94941                       New York, NY. 10017
                     8   (415) 432-7192                               (646) 722-8505
                         derek@derekhowardlaw.com                     jeisenhofer@gelaw.com
                     9

                    10
                         Kenneth Johnston                             Kathleen Herkenhoff
                    11   JOHNSTON PRATT PLLC                          HAEGGQUIST & ECK, LP
                         1717 Main Street, Suite 3000                 225 Broadway, Suite 2050
                    12   Dallas, TX. 75201                            San Diego, CA. 92101
                         (214) 974-8000                               (619) 342-8000
                    13   kjohnston@johnstonpratt.com                  kathleenh@haelaw.com
                    14
                          Amy E. Keller                               Gayle Blatt
                    15    DICELLO LEVITT & CASEY LLC                  CASEY GERRY SCHENK FRANCAVILLA
                          Ten North Dearborn Street, Eleventh Floor   BLATT & PENFIELD LLP
                    16    Chicago, IL. 60602                          110 Laurel Street
                          (312) 214-7900                              San Diego, CA. 92101
                    17    akeller@dlcfirm.com                         (619) 238-1811
                    18                                                gmb@cglaw.com

                    19
                         Tina Wolfson                                 Ariana Tadler
                    20   AHDOOT & WOLFSON, P.C.                       MILBERG TADLER PHILLIPS
                         8424 Santa Monica Blvd., Suite 575           GROSSMAN LLP
                    21   West Hollywood, CA., 90069                   1 Pennsylvania Plaza, Suite 1920
                    22   (310) 474-9111                               New York, NY. 10119
                         aw@ahdootwolfson.com                         (212) 946-9453
                    23                                                atadler@milberg.com

                    24
                         Karin Swope                                  Tim Blood
                    25   KELLER ROHRBACK LLP                          BLOOD HURST O’REARDON LLP
                         1201 Third Avenue, Suite 3200                501 West Broadway, Suite 1490
                    26   Seattle, Washington 98101                    San Diego, CA. 92101
                         (206) 623-1900                               (619) 338-1100
                    27   mgriffin@kellerrohrback.com                  tblood@bholaw.com
                    28   kswope@kellerrohrback.com
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 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                        3
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1   Melissa R. Emert                       Christopher Ridout
                         STULL, STULL & BRODY                   ZIMMERMAN REED LLP
                     2   6 East 45th Street                     2381 Rosecrans Blvd., Suite 328
                     3   New York, NY 10017                     El Segundo, CA. 90245
                         (212) 687-7230                         (562) 216-7383
                     4   memert@ssbny.com                       Christopher.ridout@zimmreed.com

                     5   Charles E. Schaffer                    Rosemary M. Rivas
                         LEVIN SEDRAN & BERMAN                  LEVI & KORSINSKY, LLP
                     6
                         510 Walnut Street, Suite 500           44 Montgomery Street, Suite 650
                     7   Philadelphia, PA 19102                 San Francisco, CA 94104
                         (215) 592-1500                         (415) 291-2420
                     8   cshaffer@lfsblaw.com                   rrivas@zlk.com

                     9   Doug McNamara                          Geoffrey Rushing
                         COHEN MILSTEIN SELLERS & TOLL          SAVERI & SAVERI INC.
                    10
                         LLC                                    706 Sansome Street, Suite 200
                    11   1100 New York Ave. NW, Suite 500       San Francisco, CA. 94111
                         Washington, DC. 20005                  (415) 217-6810
                    12   (202) 408-4600                         grushing@saveri.com
                         dmcnamara@cohenmilstein.com
                    13
                         Ben Barnow                             Stephen Rosenthal
                    14
                         BARNOW & ASSOCIATES                    PODHURST ORSEK P.A.
                    15   One North LaSalle Street, Suite 4600   SunTrust International Center
                         Chicago, IL. 60602                     One S.E. 3rd Ave., Suite 2300
                    16   (312) 621-2000                         Miami, FL. 33131
                         b.barnow@barnowlaw.com                 (305) 358-2800
                    17                                          srosenthal@podhurst.com
                    18
                         Stanley Bernstein                      Anthony Fata
                    19   BERNSTEIN LIEBHARD LLP                 CAFFERTY CLOBES MERIWETHER &
                         10 East 40th Street                    SPRENGEL LLP
                    20   New York, NY 10016                     150 S. Wacker, Suite 3000
                         Direct: 212-951-2040                   Chicago, IL. 60606
                    21   Main: (212) 779-1414                   (312) 782-4880
                    22   bernstein@bernlieb.com                 afata@caffertyclobes.com

                    23   Todd Garber
                         FINKELSTEIN, BLANKINSHIP, FREI-
                    24   PEARSON & GARBER, LLP
                         445 Hamilton Ave., Suite 605
                    25   White Plains, NY. 10601
                    26   (914) 298-3281 ext. 32803
                         tgarber@fbfglaw.com
                    27

                    28
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 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                 4
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1          D.      Changes in Membership of EC
                     2          Appointments to the EC are personal in nature and may not be changed absent the
                     3   authorization of Co-Lead Counsel or by court order. Accordingly, this Court looks to these
                     4   counsel to undertake personal responsibility to perform the designated functions and reserves the
                     5   discretion to replace them, on their own request, or of this Court’s own motion, should they
                     6   become unable to do so. These appointments will last for the duration of the MDL proceeding,
                     7   unless changed by Co-Lead Counsel or ordered by the Court.
                     8          E.      Steering Committee (Designated Counsel)
                     9          Co-Lead Counsel or the PEC may utilize members of the Steering Committee (“Designated
                    10   Counsel”) on an ad hoc basis and appoint qualified counsel to perform legal services for plaintiffs.
                    11   The Steering Committee members may aid and support any of the Co-Lead Counsel or PEC
                    12   committees in executing the effective and efficient conduct of this litigation, and may also
                    13   participate in the determination of any significant matters that arise in the litigation. The
                    14   responsibilities of Designated Counsel shall be determined by Co-Lead Counsel or the individual
                    15   PEC member(s) or subcommittee that is responsible for the particular project, service, or work
                    16   assignment to be completed by Designated Counsel.
                    17          The Court hereby appoints the following individuals to the Steering Committee:
                    18
                          Joshua H. Eggnatz                                Scott Cole
                    19    EGGNATZ PASCUCCI, P.A.                           SCOTT COLE & ASSOCIATES
                          5400 S. University Drive, Suite 417              1970 Broadway, 9th Floor
                    20
                          Davie, FL 33328                                  Oakland, CA 94612
                    21    (954) 889-3359                                   (510) 891-9800
                          JEggnatz@JusticeEarned.com                       scole@scalaw.com
                    22
                          Richard S. Wayne                                 Anthony G. Simon
                    23    STRAUSS TROY                                     SIMON LAW FIRM, P.C.
                    24
                          150 E 4th St #4                                  800 Market St., Suite 1700
                          Cincinnati, OH 45202-4018                        St. Louis, MO 63101
                    25    (513) 629-9472                                   (314) 485-4034
                          rswayne@strausstroy.com                          asimon@simonlawpc.com
                    26

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 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                            5
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1    Phong Tran                                        James Vlahakis
                          JOHNSON FISTEL, LLP                               SULAIMAN LAW GROUP, LTD.
                     2    600 West Broadway, Suite 1540                     2500 South Highland Ave., Suite 200
                     3    San Diego, CA 92101                               Lombard, IL 60148
                          (619) 230-0063                                    (312) 313-1613
                     4    Phongt@johnsonfistel.com                          jvlahakis@sulaimanlaw.com

                     5    Gordon M. Fauth, Jr.                              Gary S. Graifman
                          FINKELSTEIN THOMPSON LLP                          KANTROWITZ GOLDHAMER &
                     6
                          100 Pine Street, Suite 1250                       GRAIFMAN, P.C.
                     7    San Francisco, CA 94111                           747 Chestnut Ridge Road
                          (415) 398-8700                                    Chestnut Ridge, NY 10977
                     8    gfauth@finkelsteinthompson.com                    (845) 262-2335
                                                                            ggraifman@kgglaw.com
                     9
                          Jeffrey Squire                                    Daniel Mulligan
                    10
                          BRAGER EAGEL & SQUIRE, P.C.                       JENKINS, MULLIGAN & GABRIEL, LLP
                    11    885 Third Avenue, Suite 3040                      10085 Carroll Canyon Rd., Ste 210
                          New York, NY 10022                                San Diego, CA 92131
                    12    (212) 308-5858                                    (858) 527-1792
                                                                            dan@jmglawoffices.com
                    13
                          Jason Barnes                                      Thomas V. Girardi
                    14
                          BARNES & ASSOCIATES                               Alexandra Steele
                    15    219 East Dunklin Street, Suite A                  GIRARDI KEESE
                          Jefferson City, MO 65109                          1126 Wilshire Blvd.
                    16    (573) 634-8884                                    Los Angeles, CA 90017
                          Jaybarnes5@zoho.com                               Tel: (213) 977-0211
                    17                                                      tgirardi@girardikeese.com
                    18                                                      asteele@girardikeese.com
                          Bradford Lear
                    19    Todd Werts
                          LEAR WERTS LLP
                    20    2003 West Broadway, Suite 107
                          Columbia, MO 65203
                    21    (573) 875-1991
                    22    lear@learwerts.com
                          werts@learwerts.com
                    23
                         III.    COMPOSITION AND RESPONSIBILITIES OF INTERIM CO-LEAD COUNSEL
                    24
                                 AND PLAINTIFFS’ EXECUTIVE COMMITTEE
                    25
                                 1.      Responsibilities of Interim Co-Lead Counsel
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                                 Plaintiffs’ Interim Co-Lead Counsel shall be responsible for determining the litigation
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                         strategy on behalf of all plaintiffs, and for the conduct of the litigation on behalf of the Plaintiff
                    28
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 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                                 6
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1   class, including any trial or resolution. Plaintiffs’ Interim Co-Lead Counsel shall promote the
                     2   orderly and efficient conduct of this litigation and to avoid unnecessary duplication and
                     3   unproductive efforts; act as spokesperson (either personally or by designee) for the Plaintiff class
                     4   at pretrial conferences; and delegate work responsibilities to the Plaintiffs’ Executive Committee
                     5   or its Chair.
                     6           Plaintiffs’ Interim Co-Lead Counsel shall have authority to enter into stipulations (either
                     7   personally or by designee on the PEC) necessary for the conduct of the litigation with opposing
                     8   counsel. No request for discovery, or other pre-trial or trial proceedings shall be initiated or filed,
                     9   and no dispositive motion or response to any dispositive motion shall be filed by any plaintiff,
                    10   except through Plaintiffs’ Interim Co-Lead Counsel.
                    11           2.      Executive Committee Chair (Administrative Counsel)
                    12           The Court hereby appoints Mark Dearman of Robbins Geller Rudman & Dowd LLP as the
                    13   Chair of the Plaintiffs’ Executive Committee (“PEC Chair”) with the following duties:
                    14           a.      The PEC Chair shall delegate work responsibilities to other Plaintiffs’ counsel in a
                    15                   fair and orderly manner, and monitor the activities of all Plaintiffs’ counsel to
                    16                   assure that Plaintiffs’ pretrial preparation is conducted effectively, efficiently, and
                    17                   economically, that schedules are met, and that unnecessary expenditures of time and
                    18                   expense are avoided.
                    19           b.      The PEC Chair shall be available and responsible for communications to and from
                    20                   this Court, including distributing orders and other directions from the Court to
                    21                   counsel, and for providing the local rules, standing orders, and guidelines of the
                    22                   U.S. District Court for the Northern District of California, and any other judge’s
                    23                   rules and standing orders of the Court, to counsel as required by applicable Court
                    24                   rules.
                    25           c.      The PEC Chair shall be responsible for creating and maintaining a master service
                    26                   list of all parties and their respective counsel, and shall promptly advise the Court
                    27                   and Defendants’ counsel of changes to Plaintiffs’ Service List.
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 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                                  7
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1          d.     The PEC Chair shall be responsible for ensuring that any updates and changes to
                     2                 the local rules, standing orders, and guidelines of this District or the Court are
                     3                 timely communicated to counsel as needed, working with the PEC member(s)
                     4                 where it is appropriate and relevant to their responsibilities.
                     5          e.     The PEC Chair shall be responsible for distributing to counsel, as appropriate,
                     6                 Orders notices, and correspondence from the Court, to the extent such documents
                     7                 are not electronically filed; and discovery, pleadings, correspondence, and other
                     8                 documents from Defendants’ counsel that are not electronically filed.
                     9          f.     The PEC Chair shall be responsible for obtaining and maintaining time records for
                    10                 Plaintiffs’ counsel, as well as preparing and submitting reports to the Court as
                    11                 requested.
                    12   3.     State Court & Regulatory Liaison Counsel

                    13          The Court hereby appoints Derek Howard of the Derek G. Howard Law Firm as the State

                    14   Court & Regulatory Liaison Counsel. The State Court & Regulatory Liaison Counsel shall monitor

                    15   any ongoing litigation in any state court, including California, as well as any governmental or

                    16   regulatory proceedings, and coordinate with such proceedings to foster efficiency, minimize

                    17   duplicative discovery, and avoid management difficulties. The State Court & Regulatory Liaison

                    18
                         Counsel shall report to the Interim Co-Lead Counsel, and the Court as requested, and shall be
                         responsible for ensuring that any material developments and relevant updates in the state court
                    19
                         proceedings are communicated to the appropriate members of the PEC.
                    20
                                4.       International Liaison Counsel
                    21
                                The Court hereby appoints Eli Greenstein of Kessler Topaz Metzler Check LLP, Kenneth
                    22
                         Johnston of Johnston Pratt PLLC, and Kyle McGee of Grant & Eisenhofer, P.A., as International
                    23
                         Liason Counsel. The International Liaison Counsel shall monitor any ongoing litigation in any
                    24
                         international courts, and continue to foster efficiency, minimize duplicative discovery, and avoid
                    25
                         management difficulties. The International Liaison Counsel shall report to the Interim Co-Lead
                    26
                         Counsel and ensure any material developments and relevant updates in the international courts are
                    27
                         communicated to the appropriate members of the PEC. The International Liaison Counsel shall also
                    28
       ♼
                         research, make recommendations to Interim Co-Lead Counsel, and assist in the pursuit of any claims
 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                           8
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1   based on laws outside the United States or on behalf of Class members residing outside the United
                     2   States.

                     3             5.      Law and Briefing Committee

                     4             The Court hereby appoints Amy Keller of Dicello Levitt & Casey LLC and Kathleen

                     5   Herkenhoff of Haeggquist & Eck as co-chairs of the Law and Briefing Committee, responsible for

                     6   coordinating the research and preparation of all pleadings and motions and assisting in the

                     7   preparation of oral arguments at any hearings.
                                   6.      Defensive Discovery and Plaintiff Coordination Committee
                     8

                     9             The Court hereby appoints Gayle Blatt of Casey Gerry Schenk Francavilla Blatt & Penfield

                    10   LLP and Tina Wolfson of Ahdoot & Wolfson as co-chairs of the Defensive Discovery and Plaintiff

                    11   Coordination Committee, responsible for coordinating all discovery obligations of Plaintiffs and

                    12   the Class consistent with the requirements of the Federal Rules of Civil Procedure, including the

                    13   preservation of information, Rule 26 initial disclosures, responses to interrogatories, requests for

                    14   production of documents, and request for admissions, and examination at depositions, as well as

                    15   any motion practice related thereto.
                                   7.     Offensive Discovery and ESI Coordination Committee
                    16
                                   The Court hereby appoints Ariana Tadler of Milberg Tadler Phillips Grossman LLP and
                    17
                         Karin Swope of Keller Rohrbach LLP as co-chairs of the Offensive Discovery and ESI
                    18
                         Coordination Committee, responsible for coordinating all discovery propounded on behalf of the
                    19
                         Plaintiffs and the Class consistent with the requirements of the Federal Rules of Civil Procedure,
                    20
                         including the pursuit of information, Rule 26 initial disclosure negotiation, interrogatories, requests
                    21
                         for production of documents, requests for admissions, depositions, and any motion practice related
                    22
                         thereto. The Offensive Discovery and ESI Coordination Committee shall also be responsible for
                    23
                         coordinating ESI practices in this case, including negotiations with Defendant concerning an e-
                    24
                         discovery plan, developing an ESI protocol for this case, and ensuring that appropriate protective
                    25
                         orders are in place to guard against any release of proprietary, confidential, or personal ESI. The
                    26
                         Offensive Discovery and ESI Coordination Committee will work with the EC to assess ESI needs
                    27
                         and issues, implement appropriate ESI preservation procedures, identify custodians of potentially
                    28   relevant ESI, and develop search terms for data searches. The Offensive Discovery and ESI
       ♼
 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                               9
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1   Coordination Committee will handle ESI processing tasks and shall ensure that responsive ESI is
                     2   collected and produced in a cost-effective manner that preserves the integrity of that ESI and

                     3   enables counsel to recognize and appropriately deal with evidentiary issues associated with the

                     4   admissibility of electronically generated and stored evidence.

                     5             8.    Discovery: Device Development

                     6             The Court hereby appoints Tim Blood of Blood Hurst O’Reardon LLP and Christopher

                     7   Ridout of Zimmerman Reed LLP as co-chairs of the Discovery/Device Development Committee,

                     8   responsible for coordinating all discovery efforts related to the development of the devices at issue,

                     9   including the relevant technology together with the Offensive Discovery and ESI Coordination

                    10   Committee. The Device Development Committee will inform and educate the Offensive

                    11   Discovery and ESI Coordination Committee about the relevant legal and factual issues in the case

                    12   impacting discovery, including witnesses, key evidentiary issues, and any relevant risks associated

                    13   with the discovery tasks at hand, and will work with the Experts Committee to select, retain, and

                    14   consult with appropriate experts concerning device development issues.

                    15             9.    Discovery: Marketing

                    16             The Court hereby appoints Melissa Emert of Stull, Stull & Brody and Rosemary Rivas of

                    17   Levi & Korsinsky LLP as co-chairs of the Discovery/Marketing Committee, responsible for
                         coordinating all discovery efforts related to the marketing of the devices at issue together with the
                    18
                         Offensive Discovery and ESI Coordination Committee. The Discovery/Marketing Committee will
                    19
                         inform and educate the Offensive Discovery and ESI Coordination Committee about the relevant
                    20
                         legal and factual issues in the case impacting discovery, including witnesses, key evidentiary issues,
                    21
                         and any relevant risks associated with the discovery tasks at hand, and will work with the Experts
                    22
                         Committee as necessary to select, retain, and consult with appropriate experts concerning marketing
                    23
                         issues.
                    24
                                   10.   Discovery: Third Party
                    25
                                   The Court hereby appoints Charlie Schaeffer of Levin Sedran & Berman and Geoffrey
                    26
                         Rushing of Saveri & Saveri Inc. as co-chairs of the Third Party Discovery Committee, responsible
                    27
                         for coordinating all third party discovery propounded on behalf of the Plaintiffs and the Class
                    28
       ♼
                         consistent with the requirements of the Federal Rules of Civil Procedure and applicable local rules,
 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                            10
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1   including the pursuit of documents, depositions, and any motion practice related to third party
                     2   discovery.. The committee will coordinate third party discovery with the Offensive Discovery and

                     3   ESI Coordination Committee and appropriate e committees, to evaluate and develop procedures and

                     4   a plan for discovery of third parties that is efficient, cost-effective, and non-duplicative.

                     5
                                11.     Experts

                     6          The Court hereby appoints Doug McNamara of Cohen Milstein Sellers & Toll LLC and

                     7   Stephen Rosenthal of Podhurst Orsek P.A. as co-chairs of the Experts Committee, responsible for
                         researching and retaining experts as to matters relevant to this action, overseeing the preparation of
                     8
                         expert disclosures, reports and depositions consistent with the requirements of the Federal Rules of
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                         Civil Procedure, and shall coordinate expert discovery with the Offensive Discovery and ESI
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                         Coordination Committee and the PEC, including the response to experts disclosed by Defendants,
                    11
                         and any motion practice related thereto.
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                                12.       Damages/Settlement
                    13
                                The Court hereby appoints Ben Barnow of Barnow & Associates and Anthony Fata of
                    14
                         Cafferty Clobes Meriwether & Sprengel LLP as co-chairs of the Damages/Settlement Committee,
                    15
                         responsible for coordinating efforts relating to damages, whether monetary or injunctive relief,
                    16
                         including issues raised in discovery, expert disclosures, motions or trial, as well as assisting Co-Lead
                    17   Counsel in representing the Plaintiff class in any arbitrations, mediations, and/or settlement
                    18   conferences, consistent with the Court’s ADR Local Rules and procedures.
                    19          13.       Trial Preparation
                    20          The Court hereby appoints Stanley Bernstein of Bernstein Liebhard and Todd Garber of
                    21   Finkelstein Blankenship as co-chairs of the Trial Preparation Committee, responsible for assisting
                    22   Co-Lead Counsel in all stages of trial preparation, including but not limited to the structure of the
                    23   trial in the pretrial process, submission of detailed trial plans, decisions regarding issues, claims, and
                    24   defenses that may apply, execution of the trial plan, preparation of pre-trial motions and all trial
                    25   documents required under this Court’s standing order, and consultation with Co-Lead Counsel

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                    27   //

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 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                               11
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                     1   //
                     2   regarding trial strategy and the conferring and planning that is mandated by Rule 26(f) of the Federal

                     3   Rules of Civil Procedure and by ADR Local Rule 3-5,

                     4          IT IS SO ORDERED.

                     5

                     6   Dated: May _____, 2018                               _________________________________
                                                                              EDWARD J. DAVILA
                     7                                                        United States District Judge

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       ♼
 LAW OFFICES             AMENDED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR                                           12
COTCHETT, PITRE &
 MCCARTHY, LLP
                         CONSOLIDATION, APPOINTMENT OF INTERIM CO-LEAD COUNSEL AND
                         PLAINTIFFS’ COMMITTEES; Case No. 5:18-MD-02827-EJD
                                                  PLAINTIFFS’ CO-LEAD COUNSEL
                     Cotchett, Pitre & McCarthy LLP                                               Kaplan Fox & Kilsheimer LLP


                                                 PLAINTIFFS’ EXECUTIVE COMMITTEE (PEC)


1. Administration /          2. State Court &          3. International     4. Law & Briefing           5. Discovery:             6. Discovery:
     PEC Chair              Regulatory Liaison              Liaison                                  Defensive & Plaintiff         Offensive &
                                                                                                        Coordination             ESI Coordinator
Mark J. Dearman             Derek Howard              Eli Greenstein       Amy Keller
(Robbins Geller             (Derek G. Howard          (Kessler Topaz       (Dicello Levitt &          Gayle Blatt               Ariana Tadler
Rudman & Dowd               Law Firm)                 Metzler Check LLP)   Casey LLC)                 (Casey Gerry Schenk       (Milberg Tadler
LLP)                                                                                                  Francavilla Blatt &       Phillips Grossman
                                                      Kenneth Johnston     Kathleen Herkenhoff        Penfield LLP)             LLP)
                                                      (Johnson Pratt)      (Haeggquist & Eck,
                                                                           LLP)                       Tina Wolfson              Karen Swope
                                                      Kyle McGee                                      (Ahdoot & Wolfson)        (Keller Rohrbach)
                                                      (Grant &
                                                      Eisenhofer)




  7. Discovery:                8. Discovery:             9. Discovery:         10. Experts              11. Damages /              12. Trial Prep
     Device                     Marketing                 Third Party                                    Settlement
  Development

Timothy Blood               Melissa Emert             Charles Schaeffer    Doug McNamara              Ben Barnow                Stanley Bernstein
(Blood Hurst                (Stull, Stull &           (Levin Sedran &      (Cohen Milstein            (Barnow &                 (Bernstein
O’Reardon LLP)              Brody)                    Berman)              Sellers & Toll PLLC)       Associates)               Liebhard, LLP)

Christopher Ridout          Rosemary Rivas            Geoffrey Rushing     Stephen F.                 Anthony Fata              Todd Garber
(Zimmerman Reed             (Levi & Korsinsky         (Saveri & Saveri     Rosenthal                  (Cafferty Clobes          (Finkelstein,
LLP)                        LLP)                      Inc.)                (Podhurst Orsek            Meriwether &              Blankinship, Frei-
                                                                           P.A.)                      Sprengel LLP)             Pearson & Garber,
                                                                                                                                LLP)



                                                 PLAINTIFFS’ STEERING COMMITTEE (PSC)
                                                                                                                                   5/3/2018 4:44 PM
